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 UNITED STATES DISTRICT COURT
 FOR THE SOUTHERN DISTRICT OF NEW YORK

  In re:
  TETHER AND BITFINEX                                                    19 Civ. 9236 (KPF)
  CRYPTO ASSET LITIGATION

                                                              STIPULATION AND ORDER
                                                            GOVERNING THE EXCHANGE
                                                            OF ELECTRONICALLY STORED
                                                                   INFORMATION




                     STIPULATION AND ORDER
  GOVERNING THE EXCHANGE OF ELECTRONICALLY STORED INFORMATION

       Upon agreement of the Parties for entry of an order establishing a protocol for the exchange

and production of documents in hard-copy format (“Documents”) and electronically stored infor-

mation (“ESI”), as those terms are used in the Federal Rules of Civil Procedure, plaintiffs Matthew

Script, Benjamin Leibowitz, Jason Leibowitz, Aaron Leibowitz, and Pinchas Goldshtein (“Plain-

tiffs”) and defendants iFinex Inc., BFXNA Inc., BFXWW Inc., Tether Holdings Limited, Tether

Operations Limited, Tether Limited, Tether International Limited, DigFinex Inc., Philip G. Potter,

Giancarlo Devasini, Ludovicus Jan van der Velde, Reginald Fowler, Crypto Capital Corp., Bittrex,

Inc., and Poloniex, LLC (“Defendants”) (each a “Party” and, collectively, the “Parties”) hereby

stipulate (“ESI Stipulation”) and the Courts orders as follows:
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I.     GENERAL PROVISIONS

               The Parties and non-parties producing Documents and ESI (each a “Producing

Party”) shall prepare their Documents and ESI for production to the Parties receiving the

production (each a “Receiving Party”) in accordance with this ESI Stipulation.

               If a provision of this agreement conflicts with the terms of the Stipulation and Order

for the Production and Exchange of Confidential Materials (Dkt. No. 151) (“Confidentiality

Stipulation”) previously entered in this action,1 the Confidentiality Stipulation will control absent

further order of the Court.

II.    PRODUCTION OF DOCUMENTS

               TIFFs. Producing Parties shall produce Documents in the form of single-page,

Group IV TIFFs at 300 dpi. They shall name each TIFF image as its corresponding Bates number.

They shall maintain Original Document orientation (i.e., portrait to portrait and landscape to

landscape). They shall provide TIFF image files in a self-identified “Images” folder.

               OCR Text Files. Producing Parties shall provide Optical Character Recognition

(“OCR”) text files as a single text file for each Document, not one text file per page. They shall

name each file with the beginning Bates number assigned to its corresponding Document, followed

by .txt. They shall provide OCR text files in a self-identified “Text” directory. To the extent that a

Document is redacted, they shall produce OCR text files for that Document that shall not contain

text for redacted portions.

               Database Load Files/Cross-Reference Files. Unless otherwise agreed by the Parties,

Producing Parties shall provide Documents with Concordance-compatible image and data load




1 Defined terms in the Confidentiality Stipulation not otherwise defined herein are incorporated.


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files (i.e., .OPT and DAT files) using standard Concordance delimiters. They shall provide

Concordance-compatible image and data load files (i.e., .OPT and DAT files) in a self-identified

“Data” folder.

                 Coding Fields. Producing Parties shall produce Documents with at least the

following searchable information in accompanying delimited data files: (1) BegBates;

(2) EndBates; (3) BegAttach; (4) EndAttach; (5) Custodians; (6) OCRTextPath; and

(7) Confidentiality.. When a Producing Party determines in good faith judgment that it is

practicable to accompany Documents with other metadata fields in Table I, the Producing Party

shall produce those Documents with the practicable metadata fields. Producing Parties shall

identify custodians using any of the following conventions, as appropriate: “Last Name, First

Name”; “last name_first name”; “first name_last name”; or “FLast.” Producing Parties shall use a

uniform description of a particular custodian, and separate multiple custodians in the “Custodian”

field by a semicolon. For documents with no individual custodian (e.g., centralized files, document

management systems), Producing Parties shall use the relevant entity name(s) in the “Custodian”

field.

                 Bates Numbering. Producing Parties shall assign each TIFF image a Bates number

that: (1) is unique across the entire production; (2) maintains a constant length across the entire

production (i.e., padded to the same number of characters); (3) contains no special characters or

embedded spaces; and (4) is sequential within a given Document. If a Bates number or set of Bates

numbers is skipped in a production, the Producing Party will so note in a slip sheet within a

production, cover letter, or production log accompanying the production.

                 Parent-Child Relationships. Producing Parties shall preserve parent-child

relationships (i.e., the association between an attachment and its parent Document), to the extent

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they exist in the manner in which the Documents are maintained in the ordinary course of business.

For example, if a Producing Party produces a printout of an email with its attachments, it shall

produce such attachments behind the email in the order in which they were attached.

               Color. Producing Parties need not, in the first instance, produce Documents

containing color in color format. The Receiving Party may request that the Producing Party consent

to production of such Documents in color format by (1) providing a list of the Bates numbers of

the Document(s); and (2) explaining the need for production of the Documents in color format.

Consent to produce in color shall not be unreasonably withheld.

               Unitizing of Documents. A Producing Party shall not, when scanning Documents:

(1) merge distinct Documents into a single record; or (2) split single Documents into multiple

records (i.e., Documents should be logically unitized).

III.   PRODUCTION OF ESI

               TIFFs. Producing Parties shall produce ESI in the form of single-page, black and

white, Group IV TIFFs at 300 dpi. They shall name each TIFF image as its corresponding Bates

number. They shall maintain original document orientation (i.e., portrait to portrait and landscape

to landscape). They shall provide TIFF image files in a self-identified “Images” folder.

               System Files. Producing Parties need not process, review, or produce common

system and program files as defined by the NIST library (which is commonly used by e-discovery

vendors to exclude system and program files from document review and production).

               De-Duplication. Producing Parties need produce only a single copy of responsive

ESI, and may, but need not, de-duplicate responsive ESI across custodians with MD5 or SHA-1

hash values at the parent level. However, a Producing Party:

               1.     shall not eliminate attachments from their parent emails;


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               2.      shall list in the “Custodians” field the identity of other custodians of de-
                       duplicated items of the copy of the single record that is produced; and

               3.      shall identify custodians as set forth in Section III.E (“Metadata Fields and
                       Processing”)

If a Producing Party identifies additional duplicate ESI, the Producing Party may use a custom

de-duplication protocol; provided, however, that the Producing Party shall agree to the terms of

that protocol with the other Parties before implementing it. To the extent feasible, Producing Par-

ties shall provide overlays to allow custodian information to be updated with rolling ESI and Doc-

ument collections so that every custodian who possessed particular ESI or Documents, irrespective

of deduplication, is reflected in that ESI’s or Document’s metadata.

               Parent-Child Relationships. Producing Parties shall preserve parent-child

relationships (i.e., the association between an attachment and its parent file).

               Metadata Fields and Processing. Producing Parties shall produce each of the

metadata and coding fields set forth in Table I that can be extracted from ESI for that ESI. They

are not obligated to populate manually any of the fields in Table I if such fields cannot be extracted

from the ESI, except for the following: (1) BegBates; (2) EndBates; (3) BegAttach; (4) EndAttach;

(5) Custodians; (6) NativeLink; (7) Confidentiality; and (8) Parent ID fields (which the Producing

Party or its vendor may populate). They shall identify custodians using any of the following

conventions, as appropriate: “Last Name, First Name”; “last name_first name”; “first name_last

name”; or “FLast.” A Producing Party shall use a uniform description of a particular custodian and

separate multiple custodians by a semicolon in the “Custodians” field. For documents with no

individual custodian (e.g., centralized files, document management systems), Producing Parties

shall use the relevant entity name(s) in the “Custodian” field.




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                Extracted Text Files. For all ESI (other than multimedia or graphic files), Producing

Parties shall provide an extracted text file along with its corresponding TIFF image file(s) and

metadata. They shall name each extracted text file such that it is identical to that of the first image

page of its corresponding file, followed by .txt. They shall not use file names that contain special

characters or embedded spaces and shall extract the text of native files directly from the native file.

If a file contains redactions, however, the Producing Party may provide OCR of the redacted file

in lieu of extracted text.

                Database Load Files/Cross-Reference Files. Unless otherwise agreed to by the

parties, Producing Parties shall include in each production (1) a metadata file (DAT file) using

standard Concordance delimiters or carat pipe delimiters; and (2) an image load file in Opticon

format (.OPT file). They shall provide in a self-identified “Data” folder Concordance-compatible

image and data load files (i.e., .OPT and DAT files).

                Native Files. The following governs the production of native files.

                1.      Producing Parties shall produce PowerPoint presentations, source code,
                        large diagrams, Excel files and/or .csv files in native format (“Native
                        Files”), unless they have redactions.

                2.      Producing Parties shall provide native files in a self-identified “Natives”
                        directory. Producing Parties shall produce each native file with a
                        corresponding single-page TIFF placeholder image, which shall state the
                        ESI is being produced as a native file and provide the Confidentiality
                        Designation, if any. Producing Parties shall name each native file with the
                        beginning Bates number that is assigned to that specific record in the
                        production.

                3.      Producing Parties shall include a “NativeLink” entry for each native file in
                        the .DAT load file indicating the relative file path to each native file on the
                        production media. Producing Parties shall produce native files with
                        extracted text and applicable metadata fields as set forth in Paragraphs III.E
                        and III.F. Producing Parties may produce redacted files with TIFF image
                        files and OCR in lieu of a Native File, TIFF placeholder image and extracted
                        text file or may produce redacted Excel and/or .csv files in native format


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                        with redactions applied to the native files. Producing Parties shall exclude
                        any metadata fields for redacted files that would reveal privileged
                        information.

                 4.     Each Producing Party shall make reasonable efforts to ensure that its
                        discovery vendor, prior to conversion to TIFF, reveals hidden data from
                        redacted native files that are produced as TIFF image files and ensures that
                        redacted native files will be formatted to be readable (for example, column
                        widths should be formatted so that numbers do not appear as “#########”).

                 Structured Data. To the extent that responding to a discovery request requires

production of ESI contained in a database, a Producing Party may query the database for

discoverable information and generate and produce a report in a reasonably usable and exportable

Excel or .csv format. The first line of each such file will, to the extent not unduly burdensome,

show the column headers for each field of data included. The Parties shall meet and confer to

finalize the appropriate data extraction and production format for specific information contained

in a database.

                 Audio and Video Files. Producing Parties shall produce audio and video files in a

reasonably usable format as may be agreed upon by the Parties.

                 Requests for Other Native Files. Other than as specifically set forth above, a

Producing Party need not produce ESI in native format. The Receiving Party may request

production in native format by (1) providing a list of the Bates numbers of ESI it requests to be

produced in native format; and (2) explaining the need for reviewing such ESI in native format.

The Producing Party shall produce in response to such request, or refuse such request to the extent

that it is overbroad or unduly burdensome (or for any other good cause grounds that may exist),

each native file with corresponding production number fields and a “NativeLink” entry in the DAT

load file indicating the relative file path to each native file on the production media, all extracted




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text (other than for multimedia or graphic files), and applicable metadata fields set forth in Table

I.

                                Table I-ESI Metadata Fields

 FIELD NAME                  DESCRIPTION
 Author                      Author of document, if identified in metadata
 Begin Bates                 Unique document identifier and starting page of a document (e.g.,
                             ABC00000001)
 Bates End                   End number of a document (e.g., ABC0000099)
 Bates Beg Attach            Starting number of a group or family of documents (e.g.,
                             ABC0000001)
 Bates End Attach            End number of a group or family of the document (e.g.,
                             ABC0000099)
 Custodian                   Owner of a document
 All Custodians              List of all custodians who had custody of the document, separated
                             by semicolon
 Filename                    Original name of the file
 File Extension              File extension of document (e.g., .msg, .docx, .xlsx)
 File Size                   Size of the file
 Document Type               Type of document (e.g., email, e-document, attachment, hard-
                             copy)
 Date Created                Date document was created (e.g., 01/01/2001)
 Time Created                Time document was created (e.g., 17:00)
 Date Last Modified          Date document was last modified (e.g., 01/01/2001)
 Time Last Modified          Time document was last modified (e.g., 17:00)




 Date Sent                   Date email was sent (e.g., 01/01/2001)
 Time Sent                   Time email was sent (e.g., 17:00)
 Date Received               Date email was received (e.g., 01/01/2001)


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 FIELD NAME                      DESCRIPTION
 Time Received                   Time email was received (e.g., 17:00)
 Email From                      Sender of email
 Email Subject                   Subject line of email
 Email To                        Recipient(s) of email
 Email BCC                       Blind-copied recipients of email
 Email CC                        Copied recipients of email
 MD5 Hash or SHA-1               MD5 Hash or SHA-1 Hash Value of file
 Hash
 Native Link                     Relative file path of native file
 File Path                       Original file path where file was kept (by the custodian)
 Confidentiality                 Confidential or Attorneys’ Eyes Only
 Redactions                      Yes/No

               Confidentiality Designations. If a Producing Party reduces native files or other ESI

designated “Confidential Material” or “Attorneys’ Eyes Only Material,” as defined by the

Confidentiality Stipulation, to Document form, it shall mark the Document with the appropriate

designation. The failure of a Producing Party to mark such Document with the appropriate

designation shall not affect such Document’s designation as “Confidential Material” or

“Attorneys’ Eyes Only Material.” Producing Parties shall produce all ESI designated as

“Confidential” or “Attorneys’ Eyes Only” with the designation in the metadata field pursuant to

Table I and in the ESI itself.

               Time Zone. Producing Parties shall produce all ESI normalized to Eastern Time

(ET).




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IV.    PROCESSING OF THIRD-PARTY DOCUMENTS

               A Party that issues a non-party subpoena (“Issuing Party”) shall include a copy of

this ESI Stipulation with the subpoena and request that the non-party produce Documents and ESI

in accordance with the specifications set forth herein. If an Issuing Party issued a non-party

subpoena prior to the execution of this ESI Stipulation, that Issuing Party shall promptly forward

a copy of this ESI Stipulation to the non-party and request that the non-party produce Documents

and ESI in accordance with the specifications set forth herein.

               The Issuing Party is responsible for producing to all other Parties any Documents

and/or ESI obtained pursuant to a subpoena. If a non-party refuses to produce Documents and/or

ESI in accordance with the specifications set forth here, the Issuing Party has no obligation to

conform the non-party’s production to such specifications.

               Nothing in this ESI Stipulation is intended to or should be interpreted as narrowing,

expanding, or otherwise affecting the rights of the Parties or non-parties to object to a subpoena.

V.     MISCELLANEOUS PROVISIONS

               The production specifications in this ESI Stipulation apply to documents that are

produced in the first instance in this Litigation, by a party to this Litigation. To the extent any

party is required or agrees to re-produce documents in this Litigation that originally were produced

or prepared for production in other cases or government investigations, or by a non-party, such

documents may be produced in the same format in which they originally were produced or

prepared for production. If the receiving party requests the additional information called for in the

ESI Stipulation, the producing party and the receiving party agree to meet and confer in good faith

on that request.




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               This ESI Stipulation is intended solely to address the format of Document and ESI

productions. Nothing in this ESI Stipulation is intended to affect the rights of any Party to object

to any requests or demand for production. Nothing in this ESI Stipulation shall constitute, or

operate as, a waiver of any rights of any Party to object to, or to avoid, discovery or disclosure, in

whole or in part, under the laws of the United States, the Federal Rules of Civil Procedure, the

Local Rules of the United States District Courts for the Southern and Eastern Districts of New

York, the Individual Practices of Judge Katherine Polk Failla, or any other applicable law, rule, or

order.

               Nothing in this ESI Stipulation establishes any agreement as to either the temporal

or subject matter scope of discovery or as to the relevance or admissibility of any Document or

ESI. Nothing in this ESI Stipulation shall be interpreted to require disclosure of irrelevant

information or relevant information protected by the attorney-client privilege, work product

doctrine, or any other applicable privilege or immunity. Nothing in this ESI Stipulation shall be

interpreted to prohibit or limit the ability of a party to use, or oppose the other party’s use of,

technology-assisted review to facilitate the review and production of documents. The Parties do

not waive any objections as to the production, discoverability, admissibility, or confidentiality of

Documents and ESI.

               The Parties shall make good faith efforts to comply with and resolve any differences

concerning compliance with this ESI Stipulation. If a Producing Party, notwithstanding their good

faith efforts, cannot comply with any material aspect of this ESI Stipulation or if compliance with

such material aspect would be unreasonable, such Producing Party shall inform the Receiving

Party in writing as to why compliance with the Stipulation is impossible or unreasonable as soon

as reasonably practicable.

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              Nothing herein is intended to, nor shall be construed to, diminish or otherwise affect

any Party’s discovery obligations.

              Any application to the Court under or regarding this ESI Stipulation shall be made

pursuant to the Federal Rules of Civil Procedure, the Local Rules of the United States District

Courts for the Southern and Eastern Districts of New York, and the Individual Practices of Judge

Katherine Polk Failla.

[Signatures on following page]




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Dated: New York, New York
       October 18, 2021

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This agreement does not bind the Court or any of its personnel. The Court
can modify this stipulation at any time. The Court will retain
jurisdiction over the terms and conditions of this agreement only for the
pendency of this litigation. Any party wishing to make redacted or
sealed submissions shall comply with Rule 9 of this Court's Individual
Rules of Civil Procedure.

Date:    December 20, 2021             SO ORDERED.
         New York, New York



                                       HON. KATHERINE POLK FAILLA
                                       UNITED STATES DISTRICT JUDGE
